UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 MICHELLE FREUDENBERG, as
 Administratrix of the Estate of Eric
 Freudenberg,
                                                             No. 23-CV-847 (KMK)
                               Plaintiff,
                                                              OPINION & ORDER
        v.

 COUNTY OF ORANGE, WELLPATH NY
 LLC, CARL E. DUBOIS, SALWA KHOURI,
 MANDI ZACCAGNINO, and JOHN DOES
 1–10,

                               Defendants.


Appearances:

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Counsel for Defendants

KENNETH M. KARAS, United States District Judge:

       Michelle Freudenberg (“Plaintiff”) brings this Action as administratrix of the estate of her

son Eric Freudenberg, against the County of Orange (the “County”), Wellpath NY LLC

(“Wellpath”), John Doe officers 1–10, Salwa Khouri, Mandi Zaccagnino, (together with Does 2–
10, the “Medical Defendants”), and Orange County Sheriff Carl E. DuBois in his individual and

official capacities (collectively, “Defendants”). As relevant to this Opinion, Plaintiff alleges,

pursuant to 42 U.S.C. § 1983, that Defendants violated Mr. Freudenberg’s constitutional rights

and that they discriminated against him in violation of the Americans with Disabilities Act

(“ADA”), 42 U.S.C. § 12101 et seq. Plaintiff also brings a state law claim for wrongful death.

(See generally Second Am. Compl. (“SAC”) (Dkt. No. 21).) Before the Court is Defendants’

Rule 12(b)(6) Motion To Dismiss. (Not. of Mot. (Dkt. No. 59).) For the following reasons, the

Motion is granted in part and denied in part.

                                           I. Background

       A. Factual Background

       The following facts are drawn from the SAC and are assumed to be true for the purposes

of resolving the instant Motion. See Div. 1181 Amalgamated Transit Union-N.Y. Emps. Pension

Fund v. N.Y.C. Dep’t of Educ., 9 F.4th 91, 94 (2d Cir. 2021) (per curiam).

       This case arises out of a tragic series of events culminating in Eric Freudenberg’s death

from lung cancer on July 3, 2021. Beginning in December 2018, and at all times relevant to this

Action, Mr. Freudenberg was a pretrial detainee housed at the Orange County Correctional

Facility (“OCCF”). (SAC ¶¶ 2, 20.) Also relevant is the fact that he was diagnosed with Bipolar

1, which is alleged to be a “mental health disability.” (Id. ¶ 2.)

       Orange County Correctional Facility is operated by the County of Orange (the “County”)

and during the events giving rise to this case, Defendant DuBois served as Sheriff. (Id. ¶ 21.)




                                                  2
The County contracted with Wellpath—a private Tennessee corporation—for the purpose of

providing medical care and treatment for OCCF inmates and detainees. (Id. ¶¶ 28–29, 31.) 1

         Two Wellpath, and by extension, OCCF, employees feature prominently in this case.

Defendant Khouri acted as OCCF’s Medical Director and had the responsibility of ensuring

OCCF inmates, including Mr. Freudenberg, received necessary medical care. (Id. ¶¶ 76–79.)

Important too is Defendant Zaccagnino, a member of OCCF medical staff who Khouri

supervised and who was likewise responsible for providing care to OCCF inmates. (Id. ¶¶ 80–

86.) 2

                1. Mr. Freudenberg’s Symptoms & Requests for Care

         Starting in 2019, Mr. Freudenberg began to report alleged cancer symptoms to OCCF

medical staff. For instance, he registered several complaints in January 2019 regarding “lumps

on his body” and “pain in [his] bones” that was “so bad [he] want[ed] to die.” (SAC ¶¶ 119–20

(covering five such complaints).) On at least four separate occasions Mr. Freudenberg also

reported that he was “spitting up blood,” sometimes “on a daily basis.” (Id. ¶¶ 120, 138.) Those

reports continued through June 2020—Mr. Freudenberg repeatedly flagged a “lump on [his]

head” and referenced “extreme pain [in his] right shoulder area.” (Id. ¶¶ 120, 129 (covering

eight alleged complaints from May and June 2020).) Throughout that time, Mr. Freudenberg

received blood tests showing an elevated sedimentation rate about which he expressed concerns

and which Plaintiff alleges were yet another sign of cancer. (Id. ¶¶ 127–28, 134.) In short,



         1
         For the purposes of this Motion, Defendants do not contest that Wellpath executives and
individuals employed to deliver medical care to inmates are state actors acting under color of law
pursuant to Section 1983. (See, SAC ¶¶ 40–41.)
         2
         Doe Defendants 2–10 are also alleged to be members of OCCF medical staff involved
in providing medical care to Mr. Freudenberg. (SAC ¶¶ 88–94.)


                                                3
Mr. Freudenberg was concerned that “something [was] seriously wrong with [his] body.” (Id.

¶ 120)

         Mr. Freudenberg accompanied many of these reports with requests to be “checked for

cancer.” (See id. ¶ 119.) And he also indicated that “cancer r[an] in [his] family,” as his “dad[, ]

uncle, [and] sister all died from cancer.” (Id. ¶ 120.)

         In addition to these reports—which Medical Defendants allegedly had access to—

Mr. Freudenberg had dozens of visits with Khouri, Zaccagnino, and Does 2–10, where they

could observe his symptoms. (Id. ¶¶ 130–31.)

         Nevertheless, Defendants allegedly did not address these complaints other than by

providing Mr. Freudenberg pain and anti-anxiety medication. (Id. ¶¶ 121–22.) 3 Indeed,

Defendants apparently prescribed him so much pain medication that they caused

Mr. Freudenberg to be admitted to a hospital for an ulcer. (Id. ¶ 125.)

         In an August 8, 2020, visit, Khouri again observed Mr. Freudenberg’s symptoms and

“misdiagnosed” those symptoms, and the side effects from his pain medication, as

hypothyroidism. (Id. ¶ 130.) More generally, Plaintiff alleges that despite Mr. Freudenberg’s

worsening symptoms, Khouri, Zaccagnino, and others, repeated that misdiagnosis in order to

“brush off his complaints” and because they thought Mr. Freudenberg “did not know what was

going on in his body because of his disability. (Id. ¶¶ 132, 187.)




         3
         Plaintiff asserts that Defendants prescribed Mr. Freudenberg a cocktail of anti-anxiety
medications and anti-depressants in an effort “to quiet his complaints” and “put him into a
stupor.” (SAC ¶¶ 122, 124.)


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               2. Mr. Freudenberg’s Biopsy Request

       Mr. Freudenberg eventually saw an outside endocrinologist. 4 The endocrinologist noted

Mr. Freudenberg had an enlarged thyroid and made “specific reference” that his symptoms may

be the result of cancer. (Id. ¶ 135.) Accordingly, the endocrinologist recommended a fine needle

biopsy to which Mr. Freudenberg agreed. (Id.)

       The endocrinologist made that recommendation “to the staff at [OCCF], including but not

limited to Defendants Doe 1, Khouri, Zaccagnino and Doe 2.” (Id. ¶ 5.) Yet, despite “over one

hundred follow up requests” in the ensuing 10 months, Medical Defendants did not schedule a

biopsy. (Id. ¶ 136.)

       On March 5, 2021, Mr. Freudenberg again documented sharp pains in the left side of his

chest near his heart. (Id. ¶ 140.) Later, in late May or early June 2021, Mr. Freudenberg was

hospitalized after further reports of pain in his neck. (Id. ¶ 141.) He was discharged on June 4,

2021, with a diagnosis of “bilateral cervical, supraclavicular mediastinal [and] hilar

lymphadenopathy due to probable poorly differentiated adenocarcinoma of lung origin.” (Id.

¶ 142 (emphasis omitted).) The next day, Mr. Freudenberg was readmitted to the hospital and

diagnosed with “a malignant neoplasm metastatic to a lymph node of his neck.” (Id. ¶ 143.)

       Mr. Freudenberg passed away roughly one month later, on July 3, 2021. The cause of

death was “complications of stage IV lung cancer.” (Id. ¶ 144.)

               3. Wellpath’s Alleged Pattern of Inadequate Care

       Apart from this particular case, Plaintiff alleges that Wellpath has a pattern of providing

inadequate care at facilities it services across the country. In particular, she alleges that



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        Plaintiff states that this visit occurred “[i]n August of 2020,” but does not address
whether it came before or after Khouri’s alleged misdiagnosis. (SAC ¶ 135.) Also unclear is
whether one of the Medical Defendants referred Mr. Freudenberg to the outside specialist.
                                                   5
Wellpath’s predecessor, Correct Care Solutions, had been sued 1,395 times in federal court as of

September 12, 2019. (Id. ¶ 104.) 5 Further, Plaintiff references investigative reports by CNN and

The Atlantic detailing alleged inadequacies in medical care because of a focus on cost cutting.

(See id. ¶¶ 105–09.) 6

        Plaintiff also incorporates by reference a letter from Catholic Charities Community

Services raising complaints of “medical neglect, abuse, and retaliatory withholding of care.” (Id.

¶ 110.) 7 The letter goes on to state, among other things, that care at OCCF has been described as

“poor,” “bad,” and “slow”; that “[p]ainkillers regularly substitute for actual care, even when

medically inappropriate or inadequate”; and that, according to “[r]eports,” OCCF “deprives

detained people of access to critical treatment such as outpatient care.” (Id. ¶ 111.)

        B. Procedural History

        Defendants filed a pre-motion letter seeking leave to file the instant Motion on August

17, 2023. (Letter from Paul A. Sanders, Esq., to Court (Aug. 17, 2023) (“Defs’ Pre-motion

Letter”) (Dkt. No. 36).) Plaintiff responded on August 24, 2023, (Dkt. No. 37), after which the

Court held a pre-motion conference and adopted a briefing schedule, (see Order (Dkt. No. 43)).

After an extension, (Dkt. No. 58), Defendants moved to dismiss on December 4, 2023. (Not. of

Mot. (Dkt. No. 59); Mem. of Law in Supp. of Defs’ Pre-Answer Mot. (“Defs’ Mem.”) (Dkt.



        5
          Plaintiff references a report from the “Project on Government Oversight,” but neither
cites that report, nor provides any basis for its finding, so the Court treats this statement just like
any other allegation.
        6
          Other than providing a link to the article in The Atlantic, Plaintiff does not quote or
discuss its findings in the SAC or her papers. (See generally SAC; Pl’s Mem. of Law in Opp. to
Defs’ Mot. (“Pl’s Mem.”) (Dkt. No. 64).)
        7
          The full letter is available at: https://law.nyu.edu/sites/default/files/OCCF%20Multi-
Organization%20DHS%20CRCL%20Complaint%20and%20Index_2%2017%202022.pdf
[https://perma.cc/WL4M-3Y8A].
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No. 61).) Plaintiff filed her Opposition on January 17, 2024, after another extension, (see Order

(Dkt. No. 63); Pl’s Mem. of Law in Opp. (“Pl’s Mem.”) (Dkt. No. 64)), and Defendants replied

on February 2, 2024, (Reply Mem. of Law in Supp. of Mot. (“Defs’ Reply”) (Dkt. No. 65)).

                                            II. Discussion

        A. Standard of Review

        The Supreme Court has held that while a complaint “does not need detailed factual

allegations” to survive a motion to dismiss, “a plaintiff’s obligation to provide the grounds of his

entitlement to relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (alteration adopted) (internal quotation marks and citation omitted). Indeed, Rule 8 of the

Federal Rules of Civil Procedure “demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Nor does a complaint

suffice if it tenders naked assertions devoid of further factual enhancement.” Id. (alteration

adopted) (internal quotation marks and citation omitted). Rather, a complaint's “[f]actual

allegations must be enough to raise a right to relief above the speculative level.” Twombly, 550

U.S. at 555.

        “[O]nce a claim has been stated adequately, it may be supported by showing any set of

facts consistent with the allegations in the complaint,” id. at 563, and a plaintiff must allege

“only enough facts to state a claim to relief that is plausible on its face,” id. at 570. However, if

a plaintiff has not “nudged [his] claim[ ] across the line from conceivable to plausible, the[ ]

complaint must be dismissed.” Id.; see also Iqbal, 556 U.S. at 679 (“Determining whether a

complaint states a plausible claim for relief will ... be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense. But where the well-

pleaded facts do not permit the court to infer more than the mere possibility of misconduct, the

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complaint has alleged—but it has not ‘shown’—‘that the pleader is entitled to relief.’” (alteration

adopted) (internal quotation marks and citation omitted) (quoting Fed. R. Civ. P. 8(a)(2))); id. at

678–79 (“Rule 8 marks a notable and generous departure from the hypertechnical, code-pleading

regime of a prior era, but it does not unlock the doors of discovery for a plaintiff armed with

nothing more than conclusions.”).

       “[W]hen ruling on a defendant’s motion to dismiss, a judge must accept as true all of the

factual allegations contained in the complaint,” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per

curiam), and “draw[ ] all reasonable inferences in favor of the plaintiff,” Daniel v. T&M

Protection Resources, Inc., 992 F. Supp. 2d 302, 304 n.1 (S.D.N.Y. 2014) (citing Koch v.

Christie’s Int’l PLC, 699 F.3d 141, 145 (2d Cir. 2012)). Additionally, “[i]n adjudicating a Rule

12(b)(6) motion, a district court must confine its consideration to facts stated on the face of the

complaint, in documents appended to the complaint or incorporated in the complaint by

reference, and to matters of which judicial notice may be taken.” Leonard F. v. Isr. Disc. Bank

of N.Y., 199 F.3d 99, 107 (2d Cir. 1999) (internal quotation marks and citation omitted); see

also Wang v. Palmisano, 157 F. Supp. 3d 306, 317 (S.D.N.Y. 2016) (same).

       B. Analysis

       Defendants move to dismiss Plaintiff’s claims of deliberate indifference, ADA

discrimination, municipal liability, and wrongful death. (See generally Defs’ Mem.) 8 The Court

addresses each claim in turn.




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         The Motion’s scope has narrowed somewhat. Defendants initially moved to dismiss
several other claims that they gleaned from the SAC, but Plaintiff clarified in response that she
was not pursuing a Monell claim against any individual defendants, a “supervisory liability”
claim, or a respondeat superior theory under Section 1983. (See Pl’s Mem. 16–17, 22.)


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               1. Deliberate Indifference

                       a. Legal Framework

       To establish a deliberate-indifference claim under the Fourteenth Amendment’s Due

Process Clause—which applies to pre-trial detainees—a plaintiff must establish: “(1) that the

‘deprivation of medical care was sufficiently serious,’ and (2) that the defendant ‘acted or failed

to act with ‘a sufficiently culpable state of mind.’” Maldonado v. Town of Greenburgh, 460 F.

Supp. 3d 382, 395 (S.D.N.Y. 2020) (alterations adopted) (quoting Smith v. Outlaw, No. 15-CV-

9961, 2017 WL 4417699, at *2 (S.D.N.Y. Sept. 30, 2017)); accord Farmer v. Brennan, 511 U.S.

825, 834 (1994). The first element calls for evidence that the detainee “was actually deprived of

adequate medical care” and that the deprivation was “sufficiently serious,” i.e., that it gave rise

to “an unreasonable risk of serious damage to [the detainee’s] health.” Pateman v. City of White

Plains, No. 17-CV-6156, 2020 WL 1497054, at *20 (S.D.N.Y. Mar. 25, 2020) (alterations

adopted) (quotation marks omitted) (quoting Salahuddin v. Goord, 467 F.3d 263, 279–80 (2d

Cir. 2006), abrogated on other grounds as recognized by Kravitz v. Purcell, 87 F.4th 111, 119,

122 (2d Cir. 2023), then Walker v. Schult, 717 F.3d 119, 125 (2d Cir. 2013)). “There is no static

test to determine whether a deprivation is sufficiently serious; instead, the conditions themselves

must be evaluated in light of contemporary standards of decency.” Darnell v. Pineiro, 849 F.3d

17, 30 (2d Cir. 2017) (citation and quotation marks omitted). However, the situation usually

must be “a ‘condition of urgency’ that may result in ‘degeneration’ or ‘extreme pain.’”

Grimmett v. Corizon Med. Assocs. of N.Y., No. 15-CV-7351, 2017 WL 2274485, at *3 (S.D.N.Y.

May 24, 2017) (quoting Chance v. Armstrong, 143 F.3d 698, 702 (2d Cir. 1998)).

       The second element asks, objectively, whether the defendant officer “acted intentionally

to impose the alleged condition” or “recklessly failed to act with reasonable care to mitigate the

risk that the condition posed to the pretrial detainee even though the defendant-official knew, or

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should have known, that the condition posed an excessive risk to health or safety.” Darnell, 849

F.3d at 35 (explaining that, “[i]n other words, the ‘subjective prong’ (or ‘mens rea prong’) of a[n

Eighth Amendment] deliberate indifference claim is defined objectively” (italics omitted)); see

also Howard v. Brown, No. 15-CV-9930, 2018 WL 3611986, at *4 (S.D.N.Y. July 26, 2018)

(noting this element is applied “differently to claims under the Eighth Amendment and the

Fourteenth Amendment”). “[A]ny [Section] 1983 claim for a violation of due process[,

however,] requires proof of a mens rea greater than mere negligence.” Smith, 2017 WL

4417699, at *3 (quoting Darnell, 849 F.3d at 36) (italics omitted); see also Dumel v. Westchester

Cnty., 656 F. Supp. 3d 454, 465 (S.D.N.Y. 2023) (same). Courts routinely have held, relying on

Eighth Amendment caselaw, that “[t]he same standards apply to a claim of deliberate

indifference to serious medical needs on the part of nonmedical prison personnel” as apply to

medical personnel. Feliciano v. Anderson, No. 15-CV-4106, 2017 WL 1189747, at *13

(S.D.N.Y. Mar. 30, 2017) (quoting Hodge v. Coughlin, No. 92-CV-622, 1994 WL 519902, at

*11 (S.D.N.Y. Sept. 22, 1994), aff’d, 52 F.3d 310 (2d Cir. 1995)).

                       b. Application

       Plaintiff has plausibly alleged deliberate indifference because Plaintiff has alleged

sufficient facts to plausibly establish that the Medical Defendants knew of a specific risk that

Plaintiff contracted cancer yet chose to ignore it.

       With respect to Defendants’ knowledge, Plaintiff alleges that Mr. Freudenberg repeatedly

raised alleged cancer symptoms with Khouri and Zaccagnino. Specifically, from 2019 through

May 2020, Mr. Freudenberg lodged numerous complaints regarding lumps on his body and

conditions ranging from “severe pain in [his] bones” to spitting up blood; and he made at least

five requests to be “checked for cancer.” (SAC ¶¶ 118–20.) In that time, he also received

several blood tests revealing an elevated sedimentation rate—yet another condition Plaintiff
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contends was indicative of cancer. (Id. ¶¶ 127–28.) Defendants counter that these allegations

only establish that they only (and reasonably) “misdiagnosed” Plaintiff with hypothyroidism in

response to these complaints, rendering them unaware of any cancer risk. 9 (Defs’ Mem. 7–8.)

And if that were all, they may have a point. But Mr. Freudenberg’s subsequent visit to an

outside specialist puts any question about awareness aside. The specialist made “specific”

findings that Mr. Freudenberg’s symptoms “may be the result of cancer,” (id. ¶ 135), and

recommended to OCCF staff, including “Khouri [and] Zaccagnino” that they schedule a biopsy,

(id. ¶ 5). The recommendation, combined with Mr. Freudenberg’s worsening symptoms, are

arguably enough for subjective knowledge. At the very least, Defendants should have known

that the failure to even assess Mr. Freudenberg for cancer and commence necessary treatment

would pose a substantial risk to his health. (Id. ¶¶ 86, 130, 133.)

       With respect to indifference, Plaintiff alleges that, despite Mr. Freudenberg’s worsening

symptoms and dozens of requests for attention, Defendants did nothing to address any cancer

risk until it was too late. (Id. ¶¶ 141–45.) Defendants allegedly failed to schedule a biopsy for

over 10 months. (Id. ¶ 136.) Nor are they alleged to have taken any steps “to investigate—let

alone verify—whether it would be medically appropriate” to ignore the specialist’s

recommendation. See Johnson v. Wright, 412 F.3d 398, 404 (2d Cir. 2005). To be sure, Plaintiff

admits that Defendants nominally diagnosed Mr. Freudenberg and administered “treatment” in

the form of pain medication and antidepressants. (SAC ¶¶ 130–31.) But Plaintiff correctly

points out that the provision of some treatment is not dispositive where, as here, the treatment

appears “so woefully inadequate” compared to the inmate’s condition that it “amount[s] to no




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         Missing from Defendants’ argument is any explanation of why a hypothyroidism
diagnosis is dispositive of cancer or why the diagnosis meant that a biopsy was unnecessary.
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treatment at all.” See Gay v. Terrell, No. 12-CV-2925, 2013 WL 5437045, at *19 (E.D.N.Y.

Sept. 27, 2013) (quotation marks omitted) (quoting Johnson v. Wright, 234 F. Supp. 2d 352, 360

(S.D.N.Y. 2002) (“Although federal courts are reluctant to second guess medical judgments . . .

deliberate indifference will be found where the medical attention rendered was so woefully

inadequate as to amount to no treatment at all.” (alterations adopted) (quotation marks

omitted))). 10 Regardless, the Second Circuit has repeatedly held that this exact sort of

allegation—“deliberately ignor[ing] the medical recommendations of a[n inmate’s] treating

physicians”—gives rise to deliberate indifference. Rodriguez v. Burnett, No. 22-CV-2198, 2023

WL 3902705, at *12 (S.D.N.Y. June 7, 2023) (quoting Johnson, 412 F.3d at 404); Gill v.

Mooney, 824 F.2d 192, 196 (2d Cir.1987) (“Prison officials are more than merely negligent if

they deliberately defy the express instructions of a prisoner’s doctors.”); see also Rodriguez v.

Manenti, 606 F. App’x 25, 27 (2d Cir. 2015) (summary order) (affirming holding that jury could

find deliberate indifference where “[the p]laintiff presented evidence that [the d]efendant

knowingly acted contrary to the recommendation of the orthopedic surgeon to whom the Bureau

of Prisons had referred [the p]laintiff”). Plaintiff, then, has satisfied her burden under the

subjective prong of the Fourteenth Amendment test.

       In response, Defendants seize on the SAC’s two references to “misdiagnose[s],” arguing

that this is a case of poor medical judgment as opposed to indifference. (See Defs’ Mem. 8–9;

see also SAC ¶¶ 130–32 (referencing “repeated[] misdiagnose[s]” of Mr. Freudenberg).) They




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          Plaintiff also alleges that this course of treatment was just a pretext to keep
Mr. Freudenberg’s in a “stupor” where he could not raise further concern. (SAC¶¶ 120, 122.)
The Court need not address that additional theory, as Plaintiff’s other allegations are sufficient to
plead “deliberate indifference” as opposed to mere “reasonable but mistaken judgment[].” See
Case v. Anderson, No. 16-CV-983, 2017 WL 3701863, at *18 (S.D.N.Y. Aug. 25, 2017).
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also cite cases holding that failure to schedule a biopsy, without more, generally amounts to mere

negligence. See Grubbs v. Ngbodi, No. 21-CV-02906, 2022 WL 4072926, at *8 (S.D.N.Y. Sept.

2, 2022). But there are multiple problems with this theory. First, in alleging that Defendants

“misdiagnosed” Mr. Freudenberg, Plaintiff is not conceding that Defendants were merely

negligent. Instead, she uses “misdiagnosed” in the sense that Defendants “brush[ed] off”

Mr. Freudenberg’s complaints rather than taking him seriously, which is in no way akin to an

exercise of reasoned medical judgment. (See SAC ¶ 132.) Second, the relevant biopsy caselaw

is distinguishable in key respects. Grubbs, for instance, held that failure to order a biopsy “did

not evince deliberate indifference” because the complaint lacked allegations that the defendants

“knew or inferred that [the p]laintiff was at a serious risk of prostate cancer.” 2022 WL

4072926, at *9. Salahudidn v. Goord similarly held that postponing a biopsy did not constitute

“willful blindness” absent someone “arous[ing] [the defendant’s] suspicion that postponing the

biopsy . . . would be seriously harmful. 467 F.3d at 282, abrogated on other grounds by Kravitz

v. Purcell, 87 F.4th 111, 119, 122 (2d Cir. 2023). What was missing in those two cases is

present in the SAC: allegations that someone—an outside specialist—put Defendants on notice

that Mr. Freudenberg may have cancer. The choice not to act on that risk raises a plausible

inference of indifference, beyond mere negligence.

       Defendants also contend that the SAC lacks allegations that they “even knew about the

endocrinologist’s purported recommendation.” (Defs’ Mem. 9.) The SAC, however, clearly

alleges that the endocrinologist made the biopsy recommendation “to the staff at [OCCF]

including but not limited to” Khouri and Zaccagnino. (SAC ¶ 5 (emphasis added).) Defendants

pivot in reply, arguing “including, but not limited to” is too vague to establish “that the

recommendation was specifically directed” to Khouri and Zaccagnino. (Defs’ Reply 2.) But



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nothing about “including” renders Plaintiff’s specific reference to those Defendants unclear. It

simply introduces a nonexhaustive list of staff who received the recommendation. See

Fernandez v. Zoni Language Ctrs., Inc., 858 F.3d 45, 50 (2d Cir. 2017) (citing Black’s Law

Dictionary 831 (9th ed. 2009) (explaining that the “participle including typically indicates a

partial list” (emphasis in original))). Even if Khouri and Zaccagnino were not directly notified,

however, Plaintiff’s claim could still proceed on a constructive notice theory. Indeed, it is

entirely plausible that two doctors responsible for Mr. Freudenberg’s care, (see SAC ¶¶ 79–80,

86–87), whom he saw frequently, (see id. ¶¶ 130–31), and who had access to his records, (see

id.), “should have known” that an outside specialist sent a biopsy recommendation to the facility,

see Darnell, 849 F.3d at 35.

       There is also some dispute about whether Defendants are to blame for a failure to

schedule a biopsy even if they were aware of the endocrinologist’s recommendation. (Defs’

Mem. 9–10.) For support, Defendants cite two cases holding that a “fail[ure] to follow up with

those responsible for scheduling [outside medical] appointments” constitutes “mere negligence”

where the inmate never “informed [defendants] that [any scheduling] delay was causing him

[harm].” See Raynor v. Feder, No. 20-CV-1343, 2023 WL 6295647, at *7 (D. Conn. Sept. 27,

2023); see also Singletary v. Russo, 377 F. Supp. 3d 175, 193 (E.D.N.Y. 2019) (granting

summary judgment where there was “no indication in the record that [the defendant] was aware

that the appointment . . . had not been scheduled promptly”). Yet harm from delay is almost a

given on the facts of case. Defendants allegedly knew Mr. Freudenberg may have cancer; any

delay, not to mention a delay of 10 months, risked harm from the cancer going undiagnosed and

untreated. Moreover, both Raynor and Singletary recognize that if an inmate “lodged repeated

complaints about his doctor’s failure to schedule a prescribed [] exam,” those complaints would



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suffice to put defendants “on actual or constructive notice” of the inmate’s medical needs. See

Singletary, 377 F. Supp. 3d at 193 (citation omitted); Raynor, 2023 WL 6295647, at *7

(contrasting that case’s facts with a situation “where [a] plaintiff repeatedly complains to a

medical defendant who had referred him to the specialist”). And Plaintiff claims

Mr. Freudenberg did exactly that by making dozens of “follow up requests that the biopsy be

scheduled.” (SAC ¶ 136.) These cases are further distinguishable because they both considered

record evidence establishing that defendants “were not involved in or responsible for

scheduling.” See Raynor, 2023 WL 6295647, at *7; see also Singletary, 377 F. Supp. 3d at 193

(same). Defendants point to no such fine-grained distinctions in the SAC and the Court must

accept as true that Khouri and Zaccagnino had overall responsibility for Mr. Freudenberg’s care.

(See, e.g., SAC ¶ 80.) Drawing all inferences in Plaintiff’s favor, it is plausible that Khouri and

Zaccagnino, with knowledge of Plaintiff’s symptoms and cancer risk, would have been

responsible for ordering and following up on a biopsy request. “A reasonable jury could

[therefore] infer deliberate indifference from the failure of [Defendants] to take further steps to

see that [Mr. Freudenberg] was given a[ biopsy].” See Lloyd v. Lee, 570 F. Supp. 2d 556, 569

(S.D.N.Y. 2008) (finding inmate plausibly alleged deliberate indifference where defendants

failed to follow up on MRI request for nine months).

       With plausible allegations of indifference on the table, any remaining questions about

whether Defendants in fact exercised their medical judgment, or failed to schedule a biopsy for

some other reason, (see Defs’ Mem. 10), must be resolved at summary judgment or trial. See

Kucharczyk v. Westchester Cnty., 95 F. Supp. 3d 529, 542 (S.D.N.Y. 2015) (quotation marks

omitted) (denying motion to dismiss where allegations “support[ed] [a] claim . . . [of] deliberate

indifference”); Adams v. Beaudouin, No. 09-CV-2136, 2011 WL 240714, at *7 (E.D.N.Y. Jan.



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24, 2011) (finding that “[w]hether the[] actions by [the] [d]efendants constituted adequate

medical treatment or an unconstitutional delay . . . [could not] be determined without discovery

on what, in fact, constituted adequate medical treatment”).

                2. ADA Discrimination

        Defendants also move to dismiss Plaintiff’s ADA and Rehabilitation Act claims. They

argue (1) that Defendants are not “public entities” as defined by those statutes and that (2) in any

event, Plaintiff has not pled an inference of discrimination. (Defs’ Mem. 18–20.)

        Title II of the ADA provides that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to discrimination by any such

entity.” 42 U.S.C. § 12132; see also Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 213 (1998)

(“[T]he plain text of Title II of the ADA unambiguously extends to state prison inmates.”). To

establish a Title II claim, a plaintiff must allege “(1) that she is a qualified individual with a

disability; (2) that she was excluded from participation in a public entity’s services, programs or

activities or was otherwise discriminated against by a public entity; and (3) that such exclusion

or discrimination was due to her disability.” Tardif v. City of New York, 991 F.3d 394, 404 (2d

Cir. 2021) (quoting Davis v. Shah, 821 F.3d 231, 259 (2d Cir. 2016)); Monroe v. New York State

Dep’t of Corr. & Cmty. Supervision, No. 16-CV-2818, 2019 WL 4688665, at *9 (S.D.N.Y. Sept.

25, 2019) (same); Elbert v. N. Y. State Dep’t of Corr. Servs., 751 F. Supp. 2d 590, 594–95

(S.D.N.Y. 2010) (same). Section 504 of the Rehabilitation Act imposes nearly identical

requirements, and courts may conduct the analysis under that statute congruently. See Henrietta

D. v. Bloomberg, 331 F.3d 261, 272 (2d Cir. 2003); Meekins v. City of New York, 524 F. Supp.

2d 402, 406 (S.D.N.Y. 2007). “A plaintiff may base a Title II claim ‘on any of three theories of

liability: disparate treatment (intentional discrimination), disparate impact, or failure to make a
                                                  16
reasonable accommodation.’” Hamilton v. Westchester Cnty., 3 F.4th 86, 91 (2d Cir. 2021)

(quoting Tardif, 991 F.3d at 404).

       Because Title II targets discrimination “by reason of” disability, courts routinely dismiss

inmate ADA claims of inadequate medical treatment lacking allegations that the inmate “was

treated differently because of his or her disability.” See Elbert, 751 F. Supp. 2d at 595

(collecting cases); see also Fate v. Petranker, No. 19-CV-05519, 2020 WL 3640007, at *9

(S.D.N.Y. July 6, 2020) (same); Jones v. Ng, No. 14-CV-1350, 2015 WL 998467, at *9

(S.D.N.Y. Mar. 5, 2015) (same). Instead, there must be some allegation that the covered public

entity “denied services provided to the able-bodied on the basis of their disabilities.” See Davis,

821 F.3d at 260.

       Assuming, without deciding, that Wellpath constitutes a “public entity,” the SAC is

simply devoid of non-conclusory allegations of discrimination. By and large, Plaintiff relies on

allegations of inadequate treatment to support both her deliberate indifference and ADA/RA

claims. (See Pl’s Mem. 19–20 (citing SAC ¶¶ 115–24, 138).) The SAC, however, has little to

add in terms of discrimination. After stripping out the allegations that merely recite elements of

an ADA claim, (SAC ¶¶ 184–86), all that is left is an allegation that “Defendants . . . ignored

[Mr. Freudenberg’s] pleas for medical attention, [] thinking that he did not know what was going

on with his body because of his disability.” (Id. ¶ 187.) This allegation, though, just “speculates

that these incidents are attributable to discriminatory animus.” See DeLeon v. Teamsters Loc.

802, LLC, No. 20-CV-24, 2021 WL 1193191, at *12 (E.D.N.Y. Mar. 29, 2021). When it comes

to supporting that assertion, Plaintiff relies on the same underlying allegations of inadequate

care. She does not point to discriminatory interactions, disparate treatment, or any other typical

indicia of discrimination. And, as noted above, claims of inadequate medical treatment, “even



                                                17
when made by a person with a serious disability, does not state a claim under the ADA.” See,

e.g., Elbert, 751 F. Supp. 2d at 596; Atkins v. Cnty. of Orange, 251 F. Supp. 2d 1225, 1232

(S.D.N.Y. 2003) (dismissing mentally-disabled inmates’ ADA claim, which alleged that they

were placed in isolation, because they did not “allege that violent and self-destructive inmates

who are disabled due to mental illness are treated any differently than violent, self-destructive

inmates who are not disabled due to mental illness”); cf. Jones, 2015 WL 998467, at *9 (granting

judgment to defendants where no fact supported ADA claim “beyond those alleged in support of

[the plaintiff’s] deliberate indifference claim”). 11

        Plaintiff attempts repackage those allegations as a failure to accommodate theory. (See

Pl’s Mem. 21–22.) But this alternative tact fails for the same reason her disparate treatment

claim does. In assessing failure to accommodate claims, courts consider “as a practical matter”

whether an inmate was denied “‘meaningful access’ to services, programs or activities”—

medical services, in this case—which they could access with a reasonable accommodation.

Wright v. New York State Dep’t of Corr., 831 F.3d 64, 72 (2d Cir. 2016) (quoting Henrietta D.,

331 F.3d at 273). Here, too, though, Plaintiff must allege that “[a disability] caused [the]

deprivation of medical services” in the first instance; otherwise, she cannot “transform her

allegations regarding [] inadequate medical treatment into a ‘failure to accommodate’ claim.”

See Tardif, 991 F.3d at 405 (emphasis added) (explaining that, “[t]o hold otherwise would allow

inmates to litigate in federal court virtually every medical malpractice claim arising in a custodial

setting under the auspices of the ADA”). And, as explained above, the SAC simply lacks that

connective tissue. Instead, Plaintiff’s claims all revolve around the provision of inadequate care



        11
          As the Court hopes is clear, nothing about this holding sanctions the inadequate
medical treatment of disabled inmates. It only means that Plaintiff must seek redress not under
the ADA, but rather under Section 1983, as she has sufficiently done here.
                                                   18
because of Defendants’ indifference. Without more, those allegations—no matter how they are

packaged—go to the “the substance of the services provided” rather than “illegal discrimination”

under the ADA. See Doe v. Pfrommer, 148 F.3d 73, 84 (2d Cir. 1998); see also Greene v. City

of New York, --- F. Supp. 3d ---, 2024 WL 1308434, at *15 (S.D.N.Y. Mar. 26, 2024) (dismissing

ADA failure to accommodate claim that “relate[d] solely to whether [p]laintiffs received

adequate medical treatment in police custody for their disability” (quotation marks omitted)

(alteration adopted)); Maccharulo v. New York State Dep’t of Corr. Servs., No. 08-CV-301, 2010

WL 2899751, at *4 (S.D.N.Y. July 21, 2010) (“A challenge to the adequacy of services

provided, as opposed to a challenge alleging denial of services provided to non-disabled persons,

is not a valid claim under the ADA or the Rehabilitation Act.”).

               3. Monell Liability

       Defendants further argue that the County and its agents should not be held liable for any

violations of Mr. Freudenberg’s rights. (Defs’ Mem. 12–16.)

       “Congress did not intend municipalities to be held liable [under Section 1983] unless

action pursuant to official municipal policy of some nature caused a constitutional tort.”

Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978). Thus, “to prevail on a claim against a

municipality under [S]ection 1983 based on acts of a public official, a plaintiff is required to

prove: (1) actions taken under color of law; (2) deprivation of a constitutional or statutory right;

(3) causation; (4) damages; and (5) that an official policy of the municipality caused the

constitutional injury.” Roe v. City of Waterbury, 542 F.3d 31, 36 (2d Cir. 2008); see also

Williams v. Lohard, No. 20-CV-10571, 2022 WL 269164, at *3 (S.D.N.Y. Jan. 28, 2022) (“[The]

[p]laintiff’s claim against the [c]ity fails for lack of facts supporting the existence of a municipal

policy or practice.” (citing cases)); Palmer v. City of New York, 564 F. Supp. 3d 221, 240

(E.D.N.Y. 2021) (dismissing claim against city where the plaintiffs failed to “sufficiently allege
                                                  19
[] that they suffered constitutional violations as a result of an official policy or custom”

(quotation marks omitted)); Salvatierra v. Connolly, No. 09-CV-3722, 2010 WL 5480756, at *10

(S.D.N.Y. Sept. 1, 2010) (dismissing a claim against agencies where the plaintiff did not allege

that any policy or custom caused the deprivation of his rights), report and recommendation

adopted, 2011 WL 9398 (S.D.N.Y. Jan. 3, 2011).

       This multi-factor test, and particularly the fifth element, reflects the notion that “a

municipality may not be held liable under [Section] 1983 solely because it employs a tortfeasor.”

Bd. of Cnty. Comm’rs of Bryan Cnty. v. Brown, 520 U.S. 397, 403 (1997); see also Pembaur v.

City of Cincinnati, 475 U.S. 469, 478 (1986) (holding that a municipality may not be liable under

[Section] 1983 “by application of the doctrine of respondeat superior.” (italics omitted));

Vassallo v. Lando, 591 F. Supp. 2d 172, 201 (E.D.N.Y. 2008) (noting that “a municipal entity

may only be held liable where the entity itself commits a wrong”); Newton v. City of New York,

566 F. Supp. 2d 256, 270 (S.D.N.Y. 2008) (“As subsequently reaffirmed and explained by the

Supreme Court, municipalities may only be held liable when the municipality itself deprives an

individual of a constitutional right.”). Instead, there must be a “direct causal link between a

municipal policy or custom and the alleged constitutional deprivation.” City of Canton v. Harris,

489 U.S. 378, 385 (1989); see also City of St. Louis v. Praprotnik, 485 U.S. 112, 122 (1988)

(“[G]overnments should be held responsible when, and only when, their official policies cause

their employees to violate another person’s constitutional rights.”).

       “In determining municipal liability, it is necessary to conduct a separate inquiry into

whether there exists a ‘policy’ or ‘custom.’” Davis v. City of New York, 228 F. Supp. 2d 327,

336 (S.D.N.Y. 2002), aff’d, 75 F. App’x 827 (2d Cir. 2003). Normally, “a custom or policy

cannot be shown by pointing to a single instance of unconstitutional conduct by a mere employee



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of the [municipality].” Newton, 566 F. Supp. 2d at 271; see also City of Oklahoma City v. Tuttle,

471 U.S. 808, 823–24 (1985) (plurality opinion) (“Proof of a single incident of unconstitutional

activity is not sufficient to impose liability under Monell, unless proof of the incident includes

proof that it was caused by an existing, unconstitutional municipal policy, which policy can be

attributed to a municipal policymaker.”); Bird v. Cnty. of Westchester, No. 20-CV-10076, 2022

WL 2263794, at *12 (S.D.N.Y. June 23, 2022) (“[The] [p]laintiff fails to allege the existence of

any other similar incident, which dooms [the p]laintiff's claim because a custom or policy cannot

be shown by pointing to a single instance of unconstitutional conduct by a mere employee of the

municipality.” (quotation marks omitted)); Santana v. City of New York, No. 15-CV-6715, 2018

WL 1633563, at *10 (S.D.N.Y. Mar. 29, 2018) (“[A] ‘single incident alleged in a complaint,

especially if it involved only actors below the policy-making level, does not suffice to show a

municipal policy.’”) (quoting DeCarlo v. Fry, 141 F.3d 56, 61 (2d Cir. 1998)); Brogdon v. City

of New Rochelle, 200 F. Supp. 2d 411, 427 (S.D.N.Y. 2002) (“A single incident by itself is

generally insufficient to establish the affirmative link between the municipal policy or custom

and the alleged unconstitutional violation.”).

       A plaintiff may satisfy the “policy or custom” requirement by alleging one of the
following:

       (1) a formal policy officially endorsed by the municipality; (2) actions taken by
       government officials responsible for establishing the municipal policies that caused
       the particular deprivation in question; (3) a practice so consistent and widespread
       that, although not expressly authorized, constitutes a custom or usage of which a
       supervising policy-maker must have been aware; or (4) a failure by policymakers
       to provide adequate training or supervision to subordinates to such an extent that it
       amounts to deliberate indifference to the rights of those who come into contact with
       the municipal employees.

Atadzhanov v. City of New York, No. 21-CV-5098, 2022 WL 4331304, at *11 (S.D.N.Y. Sept.

19, 2022) (citations omitted); see also Patterson v. Cnty. of Oneida, 375 F.3d 206, 226–27 (2d



                                                 21
Cir. 2004) (describing methods of establishing Monell liability). Moreover, as noted, a plaintiff

must also establish a causal link between the municipality’s policy, custom, or practice and the

alleged constitutional injury. See Tuttle, 471 U.S. at 824 n.8 (“The fact that a municipal ‘policy’

might lead to ‘police misconduct’ is hardly sufficient to satisfy Monell’s requirement that the

particular policy be the ‘moving force’ behind a constitutional violation. There must at least be

an affirmative link between[, for example,] the training inadequacies alleged, and the particular

constitutional violation at issue.” (emphasis omitted)); Batista v. Rodriguez, 702 F.2d 393, 397

(2d Cir. 1983) (“Absent a showing of a causal link between an official policy or custom and the

plaintiffs’ injury, Monell prohibits a finding of liability against the [c]ity.”); Hincapie v. City of

New York, 434 F. Supp. 3d 61, 77 (S.D.N.Y. 2020) (holding that the plaintiff failed to state a

Monell claim because the plaintiff “has not pled facts demonstrating a direct link between his

injuries and the alleged municipal policy”); Johnson v. City of New York, No. 06-CV-9426, 2011

WL 666161, at *3 (S.D.N.Y. Feb. 15, 2011) (noting that after demonstrating the existence of a

municipal policy or custom, “a plaintiff must establish a causal connection—an affirmative

link—between the policy and the deprivation of his constitutional rights” (quotation marks

omitted)).

        Plaintiff’s claim is that the County “has a practice” of “constitutionally inadequate

medical care and services as a cost-savings measure.” (Pl’s Mem. 12–16.) Although Plaintiff

occasionally uses “practice,” “policy,” and “custom” interchangeably, her claim clearly belongs

in the widespread practice bucket. The SAC contains no allegations regarding a “policy

officially promulgated by [the County] or a specific act taken by a final policymaker.” See Lara-

Grimaldi v. Cnty. of Putnam, No. 17-CV-622, 2018 WL 1626348, at *20 (S.D.N.Y. Mar. 29,




                                                  22
2018). And she does not allege or argue any facts about a failure to train or supervise relevant

prison medical staff. See Atadzhanov, 2022 WL 4331304, at *11.

       To demonstrate a de facto policy or custom through a widespread practice, a plaintiff

must “show that the policymaker was aware of a subordinate’s unconstitutional actions, and

consciously chose to ignore them, effectively ratifying the actions.” Buari v. City of New York,

530 F. Supp. 3d 356, 398 (S.D.N.Y. 2021) (quoting Amnesty America v. Town of West Hartford,

361 F.3d 113, 126 (2d Cir. 2004)). A practice can constitute a custom under Monell when the

practice is “persistent and widespread,” or “permanent and well settled as to constitute a ‘custom

or usage’ with the force of law” and to “imply the constructive knowledge of policymaking

officials.” In re N.Y.C. Policing During Summer 2020 Demonstrations, 548 F. Supp. 3d 383,

400 (S.D.N.Y. 2021) (quoting Sorlucco v. N.Y.C. Police Dep’t, 971 F.2d 864, 870–71 (2d Cir.

1992)); see also Triano v. Town of Harrison, 895 F. Supp. 2d 526, 532 (S.D.N.Y. 2012) (noting

that to demonstrate a practice is sufficiently widespread and crystalized to constitute a custom

under Monell, “a plaintiff must prove that the custom at issue is permanent and well-settled”

(citing Praprotnik, 485 U.S. at 127)).

       In support of the alleged widespread practice of denying adequate care for profit, Plaintiff

provides two types of allegations, both of which the Court finds insufficient.

       First, Plaintiff incorporates a selection of documents from outside organizations detailing

complaints and investigations into Wellpath and its predecessor CCS. Specifically, she

references a report claiming Wellpath has been sued over 1,000 times in federal court, (SAC

¶ 104), a CNN report detailing Wellpath’s substandard services due to cost containment, (id.

¶¶ 106–09), and a complaint letter by Catholic Charities and Community Service detailing

similar deprivations (id. ¶¶ 110–11)—including one similar action that Plaintiff states settled (id.



                                                 23
¶ 112; Pl’s Mem. 12–14.) These documents are categorically insufficient for purposes of

Monell.

       With respect to complaints in other proceedings, courts in this district have widely held

that “citations to lawsuits, even if they did involve comparable conduct, do not alone establish a

custom or practice that is widespread and persistent, particularly if the lawsuits did not result in

an adjudication of liability.” Taranto v. Putnam Cnty., No. 21-CV-2455, 2023 WL 6318280, at

*18 (S.D.N.Y. Sept. 28, 2023) (quoting Bethune v. Westchester Cnty., No. 18-CV-3500, 2020

WL 1032508, at *5 (S.D.N.Y. Mar. 2, 2020)); Barnett v. Westchester Cnty., No. 18-CV-2483,

2020 WL 1032445, at *5 (S.D.N.Y. Feb. 28, 2020) (same); Tieman v. City of Newburgh, No. 13-

CV-4178, 2015 WL 1379652, at *17 (S.D.N.Y. Mar. 26, 2015) (concluding that “lawsuits cited

by [the] [p]laintiff in the [proposed amended complaint], even when combined with [other]

allegations . . . are insufficient to plausibly support an inference of a widespread custom” to

establish Monell municipal liability). Indeed, the mere filing of a case or later settlement is not

probative of whether “the policies [P]laintiff alleges exist do in fact exist.” Kucharczyk, 95 F.

Supp. 3d at 543 (quotation marks and citation omitted). And the sheer “number of complaints

filed [against a defendant], without more, indicates nothing,” as “people may file a complaint for

many reasons, or for no reason at all.” Id. (alteration adopted). 12 Plaintiff acknowledges that the

one similar case cited in the SAC settled, (see SAC ¶ 112), and provides no information about

what any of the other suits against Wellpath involved or their disposition. The same rationale




       12
           To be sure, “[a] litany of prior lawsuits may suffice to put the [County] on notice that
greater training, supervision, or officer discipline was needed.” Falls v. Campbell, No. 17-CV-
35, 2019 WL 1255768, at *7 (S.D.N.Y. Mar. 19, 2019). But Plaintiff does not allege a claim on
that basis, nor does she provide even “conclusory allegations regarding the County’s response to
the lawsuits.” See id. (alteration adopted).


                                                 24
also applies to the CCCS complaint letter, which is based largely on the anonymous declarations

of several OCCF inmates as opposed to findings of liability. (See id. ¶ 111.) Accordingly,

Plaintiff “cannot allege a widespread practice on the basis of [this information] alone.” See

Taranto, 2023 WL 6318280, at *18.

       Plaintiff’s reference to a CNN investigation is likewise insufficient. The investigation

references a large body of information including lawsuits, purported instances of inadequate care

at other Wellpath-serviced facilities reviewed by the network, letters from government agencies

throughout the country, interviews with former employees, and more. (See SAC ¶¶ 106–09.)

And it broadly suggests that Wellpath is more concerned with cost-cutting than it is with care—

which is undoubtedly concerning, if not alarming. But just like “unsupported legal filings,” none

of this material “substantiates wrongdoing of some kind,” not to mention wrongdoing at OCCF

giving rise to similar constitutional violations. See Roman v. City of Mount Vernon, No. 21-CV-

2214, 2022 WL 2819459, at *22 (S.D.N.Y. July 19, 2022) (citing Marom v. City of New York,

No. 15-CV-2017, 2016 WL 916424, at *22 (S.D.N.Y. Mar. 7, 2016) (“Neither a newspaper

report nor an academic paper reporting on incidents that ought to be investigated is a showing of

anything entitled to a presumption of truth.”)). The one substantiated finding the CNN

investigation does cite—a DOJ Civil Rights Of Institutionalized Persons Act (“CRIPA”)

investigation into a Virginia jail 13—underscores the deficiencies of Plaintiff’s allegations here.

Those sorts of investigations, which courts have held to be sufficient for Monell purposes,

involve specific findings of unconstitutional conduct at the relevant facility. See Kucharczyk, 95

F. Supp. 3d at 544 (referencing a DOJ investigation into the Westchester County Jail);



       13
         The relevant letter may be accessed at: https://www.justice.gov/opa/pr/justice-
department-alleges-conditions-hampton-roads-regional-jail-violate-constitution-and
[perma.cc/CZ34-NE4Y].
                                                 25
Santiago v. Westchester Cnty., No. 13-CV-1886, 2014 WL 2048201, at *6 (S.D.N.Y. May 19,

2014) (same). And here, Plaintiff does not provide allegations that “[Orange] County

policymakers were aware of the deficiencies in [OCCF’s] provision of medical care,” see

Kucharczyk, 95 F. Supp. 3d at 544, or “of any unconstitutional acts by their employees” to which

they turned a blind eye, see Melvin v. Cnty. of Westchester, No. 14-CV-2995, 2016 WL 1254394,

at *15 (S.D.N.Y. Mar. 29, 2016) (emphasis in original). This information, even considered

together, is thus insufficient to give rise to Monell liability. See An v. City of New York, 230 F.

Supp. 3d 224, 229–30 (S.D.N.Y. 2017) (dismissing Monell claim based on “cites [to] six

lawsuits filed between 2012 and 2016 and one newspaper report” but “fail[ed] to allege that any

of the six lawsuits, which were filed over a course of four years, resulted in a finding that the

NYPD officers violated the plaintiffs’ First Amendment rights”); see also McDonald v. City of

Troy, 542 F. Supp. 3d 161, 175–76 (N.D.N.Y. 2021) (holding that while “Plaintiffs’ eight settled

[excessive force] lawsuits over eight years is not the best record for a small city like Troy to

sport[,] . . . because plaintiff has not pointed to a single related case that actually resulted in a

finding of liability on the City’s part, that showing falls woefully short of establishing Monell

liability”).

        Second, Plaintiff argues that Mr. Freudenberg’s “own individual experience” provides an

independent basis for Monell liability. (Pl’s Mem. 14–15.) Plaintiff recognizes, of course, that

she cannot state a widespread practice by alleging a single instance of unconstitutional conduct

and “extrapolating to the entire jail population.” Kirton v. Doe, No. 20-CV-10860, 2023 WL

2586279, at *9 (S.D.N.Y. Mar. 21, 2023). Instead, she relies on a narrow exception in the single

incident caselaw where “proof of the incident includes proof that it was caused by an existing,

unconstitutional municipal policy, which policy can be attributed to a municipal policymaker.”



                                                   26
See Tuttle, 471 U.S. at 824 (emphasis added). For instance, Plaintiff cites one case where a

complaint alleged not just one incident, but rather “a series of incidents involving separate actors

over a period of at least twelve hours” which “suggest[ed] the existence of a policy” given “the

consistency of th[ose] separate actors’ conduct.” Sanchez v. New York Correct Care Sols. Med.

Servs., P.C., No. 16-CV-6826, 2018 WL 6510759, at *11 (W.D.N.Y. Dec. 11, 2018); see also

Burns v. Rensselaer Cnty., No. 19-CV-701, 2021 WL 1091558, at *8–9 (N.D.N.Y. Mar. 22,

2021) (citing Sanchez).

       But the SAC is not susceptible to the move. The “incident” giving rise to liability here is

Defendants’ decision to ignore the endocrinologist’s recommendation. See supra Section

II.B.1.b. That single decision does not suddenly turn into many because Plaintiff allegedly made

“over one hundred follow-up requests.” (see Pl’s Mem. 15 (citing SAC ¶¶ 135–38)). Unlike the

Sanchez plaintiff, who alleged when and how each individual actor denied his requests for care,

see Sanchez, 2018 WL 6510759, at *1–3, Plaintiff does not specify who Mr. Freudenberg

followed up with (or when). Absent that type of specificity, the Court cannot transform an act or

omission into its own “policy” or “custom” simply because it has lasting consequences. At

bottom, then, Plaintiff’s claim turns on a single incident of unconstitutional conduct and is

therefore insufficient for purposes of Monell. Vasquez v. City of New York, No. 20-CV-4641,

2023 WL 8551715, at *4 (S.D.N.Y. Dec. 11, 2023) (“[C]ourts have dismissed custom or practice

Monell claims that rely solely on one instance of conduct to prove the existence a persistent and

widespread custom.”); Lucente v. Cnty. of Suffolk, 980 F.3d 284, 306 (2d Cir. 2020) (“[A] policy




                                                 27
or custom cannot be inferred from . . . a single incident of illegality.” (quoting Turpin v. Mailet,

619 F.2d 196, 201 (2d Cir. 1980))). 14

               4. Wrongful Death

       Defendants also seek dismissal of Plaintiff’s wrongful death claim for failure to allege the

right type of damages. (Defs’ Mem. 21.)

       As an initial matter, Plaintiff argues that Defendants either waived this argument, or

should be estopped from raising it, by failing to raise it in their pre-motion letter. (Pl’s Mem.

22.) 15 Although Plaintiff’s reading of the letter is correct, her argument about the pre-motion

process lacks merit. “‘[A] pre-motion conference letter’ does not constitute ‘a “motion” under

Rule 12 such that a failure to raise a defense in such a letter results in a waiver of that defense.’”

Feldman v. Comp Trading, LLC, No. 19-CV-4452, 2021 WL 930222, at *3 (E.D.N.Y. Mar. 11,

2021) (quoting Schweitzer ex rel. Schweitzer v. Crofton, No. 08-CV-135, 2010 WL 3516161, at

*7 (E.D.N.Y. Sept. 1, 2010) (internal quotation marks omitted)). 16 And Plaintiff makes no

argument why considering Defendants’ argument—a pure and straightforward legal issue—

would prejudice her in any way. The Court will thus consider Defendants’ argument, as it has in

other cases where parties failed to comply with the pre-motion process but had adequate


       14
           The Court finds compelling but need not address Defendants’ additional argument that
there is no “factual nexus” between the alleged cost-saving policy and the inadequate care
rendered to Mr. Freudenberg. (See Defs’ Reply 6–7.)
       15
          Defendants claim that they did raise their damages argument, but the relevant portion
of the pre-motion letter instead asserts that Plaintiff’s wrongful death claim is time barred. (See
Defs’ Pre-Motion Letter at 3 n.4.)
       16
          As a technical matter, even if a pre-motion letter did count as a “motion,” Defendants
would still be allowed to raise their failure-to-state a claim defense in a subsequent motion. See
Fed. R. Civ. P. 12(g)(2) (providing that “a party [who] makes a motion under [Rule 12] must not
make another [Rule 12] motion . . . raising a defense or objection that was . . . omitted from its
earlier motion,” “[e]xcept as provided in Rule 12(h)(2)”); 12(h)(2)(B) (noting a failure to state a
claim defense may be raised “by a motion under Rule 12(c)”).
                                                  28
opportunity to brief the issues presented. See Goldrich v. Watkins Wellness, No. 22-CV-3769,

2024 WL 1194716, at *2 n.2 (S.D.N.Y. Mar. 20, 2024).

       As to the merits, the elements of a cause of action for wrongful death under New York

law are:

       (1) the death of a human being, (2) the wrongful act, neglect or default of the
       defendant by which the decedent’s death was caused, (3) the survival of distributees
       who suffered pecuniary loss by reason of the death of decedent, and (4) the
       appointment of a personal representative of the decedent.

Melvin, 2016 WL 1254394, at *22 (quoting Quinn v. United States, 946 F. Supp. 2d 267, 277

(N.D.N.Y. 2013)). As relevant here, the damages available in wrongful death actions are “fair

and just compensation for the pecuniary injuries resulting from the decedent’s death to the

persons for whose benefit the action is brought.” Rivera v. West, No. 15-CV-1805, 2015 WL

8481554, at *3 (S.D.N.Y. Nov. 24, 2015) (emphasis added) (quoting N.Y. Est. Powers & Trusts

Law § 5-4.3(a)). In other words, such claims must be dismissed if a plaintiff fails to allege the

existence of distributees “who have suffered a pecuniary loss.” McKenzie v. City of Mount

Vernon, No. 18-CV-603, 2018 WL 6831157, at *8 (S.D.N.Y. Dec. 28, 2018).

       Here, even assuming Plaintiff is a distributee, she does not allege her own pecuniary loss.

(See generally SAC.) Instead, the only damages allegation in connection with this claim states

that “Mr. Freudenberg was damaged in an amount which exceeds the [relevant] jurisdictional

limitation.” (See id. ¶ 199 (emphasis added).) While the measurement of such losses may be a

question of fact, their existence is a “pleading requirement[]” and the failure to satisfy that

requirement necessitates “dismissal at the pleading stage.” See Maldonado v. Town of

Greenburgh, 460 F. Supp. 3d 382, 402 (S.D.N.Y. 2020) (emphasis omitted) (dismissing

wrongful death claim where plaintiff “fail[ed] to mention the existence of distributees or their

pecuniary loss anywhere in the pleadings”); McKenzie, 2018 WL 6831157, at *8 (holding


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“plaintiff’s wrongful death claims fail because plaintiff fails to allege distributees who have

suffered a pecuniary loss”); see also Chamberlain v. City of White Plains, 986 F. Supp. 2d 363,

398–99 (S.D.N.Y. 2013) (explaining that merely alleging the existence of a distributee does not

sufficiently allege pecuniary loss). Accordingly, Plaintiff’s wrongful death claim is dismissed.

                                          III. Conclusion

       For the foregoing reasons, Defendants’ Motion is granted in part and denied in part.

Specifically, Plaintiff’s deliberate indifference claim survives and her ADA, Monell, and

wrongful death claims are dismissed.

       Because this is the first adjudication of Plaintiff’s claims on the merits, dismissal of

Plaintiff’s claims is without prejudice. To the extent Plaintiff has a good faith basis for filing an

amended complaint, she must do so within 30 days of the date of this Opinion & Order. Failure

to properly and timely amend will result in dismissal of her non-surviving claims with prejudice.

The Clerk of the Court is respectfully directed to terminate the pending Motion to Dismiss (Dkt.

No. 59).


SO ORDERED.

 Dated:    September 25, 2024
           White Plains, New York


                                                             KENNETH M. KARAS
                                                            United States District Judge




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